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AO 442 (Rev. 11/11) (modifiesy

 

UNITED STATES DISTRICT COURT Fl ~

 

 

for the DEC 2 0 2g .
Eastern District of California engeRe tees prc? megane

United States of America )
IRIS JUNE MICU MINA
)

Defendant * f

ARREST WARRANT -

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) TRIS JUNE MICU MINA >

who is accused of an offense or violation based on the following document filed with the court:
olndictment oSuperseding Indictment olnformation oSuperseding Information Complaint

oProbation Violation Petition oSupervised Release Violation Petition aViolation Notice oOrder of the Court

This offense is briefly described as follows:
Title 21 U.S.C. §§ 841(a)(1), 846 — Conspiracy to Distribute, and to Possess with Intent to Distribute a Controlled Substance

 

pat: /Q-17 heo>~

issuing officer’s signature

City and state: Sacramento, California / Deborah Barnes, United States Magistrate Judge

Printed name and title

 

 

Return

This warrant was VIAL en DEC 17 2019 , and the person was arrested on (date) (Z| lA oA

lat (city and state)

 

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Date: iF/ 4 lm .
CArresting officer’s signature -

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Printed name and title

 

 

 

 
